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                            Exhibit 193
    Plaintiffs’ Corrected Averment of Jurisdictional Facts and
Evidence and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
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            INTERNATIONAL CONVENTION
               FOR THE SUPPRESSION
                 OF THE FINANCING
                  OF TERRORISM




                            UNITED NATIONS
                                 1999
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               International Convention for the Suppression of the Financing of Terrorism

               Preamble

               The States Parties to this Convention,

              Bearing in mind the purposes and principles of the Charter of the United Nations
        concerning the maintenance of international peace and security and the promotion of good-
        neighbourliness and friendly relations and cooperation among States,

             Deeply concerned about the worldwide escalation of acts of terrorism in all its forms
        and manifestations,

              Recalling the Declaration on the Occasion of the Fiftieth Anniversary of the United
        Nations, contained in General Assembly resolution 50/6 of 24 October 1995,

                Recalling also all the relevant General Assembly resolutions on the matter, including
        resolution 49/60 of 9 December 1994 and its annex on the Declaration on Measures to
        Eliminate International Terrorism, in which the States Members of the United Nations
        solemnly reaffirmed their unequivocal condemnation of all acts, methods and practices of
        terrorism as criminal and unjustifiable, wherever and by whomever committed, including those
        which jeopardize the friendly relations among States and peoples and threaten the territorial
        integrity and security of States,

               Noting that the Declaration on Measures to Eliminate International Terrorism also
        encouraged States to review urgently the scope of the existing international legal provisions on
        the prevention, repression and elimination of terrorism in all its forms and manifestations, with
        the aim of ensuring that there is a comprehensive legal framework covering all aspects of the
        matter,

                Recalling General Assembly resolution 51/210 of 17 December 1996, paragraph 3,
        subparagraph (f), in which the Assembly called upon all States to take steps to prevent and
        counteract, through appropriate domestic measures, the financing of terrorists and terrorist
        organizations, whether such financing is direct or indirect through organizations which also
        have or claim to have charitable, social or cultural goals or which are also engaged in unlawful
        activities such as illicit arms trafficking, drug dealing and racketeering, including the exploitation
        of persons for purposes of funding terrorist activities, and in particular to consider, where
        appropriate, adopting regulatory measures to prevent and counteract movements of funds
        suspected to be intended for terrorist purposes without impeding in any way the freedom of
        legitimate capital movements and to intensify the exchange of information concerning
        international movements of such funds,

              Recalling also General Assembly resolution 52/165 of 15 December 1997, in which
        the Assembly called upon States to consider, in particular, the implementation
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        of the measures set out in paragraphs 3 (a) to (f) of its resolution 51/210 of 17 December
        1996,

               Recalling further General Assembly resolution 53/108 of 8 December 1998, in which
        the Assembly decided that the Ad Hoc Committee established by General Assembly
        resolution 51/210 of 17 December 1996 should elaborate a draft international convention for
        the suppression of terrorist financing to supplement related existing international instruments,

               Considering that the financing of terrorism is a matter of grave concern to the
        international community as a whole,

               Noting that the number and seriousness of acts of international terrorism depend on the
        financing that terrorists may obtain,

               Noting also that existing multilateral legal instruments do not expressly address such
        financing,

               Being convinced of the urgent need to enhance international cooperation among States
        in devising and adopting effective measures for the prevention of the financing of terrorism, as
        well as for its suppression through the prosecution and punishment of its perpetrators,

               Have agreed as follows:


        Article 1

               For the purposes of this Convention:

        1.      AFunds@ means assets of every kind, whether tangible or intangible, movable or
        immovable, however acquired, and legal documents or instruments in any form, including
        electronic or digital, evidencing title to, or interest in, such assets, including, but not limited to,
        bank credits, travellers cheques, bank cheques, money orders, shares, securities, bonds,
        drafts, letters of credit.

        2.     AA State or governmental facility@ means any permanent or temporary facility or
        conveyance that is used or occupied by representatives of a State, members of Government,
        the legislature or the judiciary or by officials or employees of a State or any other public
        authority or entity or by employees or officials of an intergovernmental organization in
        connection with their official duties.

        3.    AProceeds@ means any funds derived from or obtained, directly or indirectly, through
        the commission of an offence set forth in article 2.




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        Article 2

        1.      Any person commits an offence within the meaning of this Convention if that person by
        any means, directly or indirectly, unlawfully and wilfully, provides or collects funds with the
        intention that they should be used or in the knowledge that they are to be used, in full or in
        part, in order to carry out:

               (a) An act which constitutes an offence within the scope of and as defined in one of
        the treaties listed in the annex; or

              (b) Any other act intended to cause death or serious bodily injury to a civilian, or to
        any other person not taking an active part in the hostilities in a situation of armed conflict,
        when the purpose of such act, by its nature or context, is to intimidate a population, or to
        compel a government or an international organization to do or to abstain from doing any act.

        2.      (a) On depositing its instrument of ratification, acceptance, approval or accession, a
        State Party which is not a party to a treaty listed in the annex may declare that, in the
        application of this Convention to the State Party, the treaty shall be deemed not to be included
        in the annex referred to in paragraph 1, subparagraph (a). The declaration shall cease to have
        effect as soon as the treaty enters into force for the State Party, which shall notify the
        depositary of this fact;

             (b) When a State Party ceases to be a party to a treaty listed in the annex, it may
        make a declaration as provided for in this article, with respect to that treaty.

        3.     For an act to constitute an offence set forth in paragraph 1, it shall not be necessary that
        the funds were actually used to carry out an offence referred to in paragraph 1, subparagraphs
        (a) or (b).

        4.     Any person also commits an offence if that person attempts to commit an offence as set
        forth in paragraph 1 of this article.

        5.     Any person also commits an offence if that person:

                (a) Participates as an accomplice in an offence as set forth in paragraph 1 or 4 of this
        article;

                (b) Organizes or directs others to commit an offence as set forth in paragraph 1 or 4
        of this article;

               (c) Contributes to the commission of one or more offences as set forth in
        paragraphs 1 or 4 of this article by a group of persons acting with a common purpose. Such
        contribution shall be intentional and shall either:




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               (i) Be made with the aim of furthering the criminal activity or criminal purpose of the
               group, where such activity or purpose involves the commission of an offence as set
               forth in paragraph 1 of this article; or

               (ii) Be made in the knowledge of the intention of the group to commit an offence as
               set forth in paragraph 1 of this article.


        Article 3

                This Convention shall not apply where the offence is committed within a single State,
        the alleged offender is a national of that State and is present in the territory of that State and
        no other State has a basis under article 7, paragraph 1, or article 7, paragraph 2, to exercise
        jurisdiction, except that the provisions of articles 12 to 18 shall, as appropriate, apply in those
        cases.


        Article 4

               Each State Party shall adopt such measures as may be necessary:

                (a) To establish as criminal offences under its domestic law the offences set forth in
        article 2;

              (b) To make those offences punishable by appropriate penalties which take into
        account the grave nature of the offences.


        Article 5

        1.      Each State Party, in accordance with its domestic legal principles, shall take the
        necessary measures to enable a legal entity located in its territory or organized under its laws
        to be held liable when a person responsible for the management or control of that legal entity
        has, in that capacity, committed an offence set forth in article 2. Such liability may be criminal,
        civil or administrative.

        2.   Such liability is incurred without prejudice to the criminal liability of individuals having
        committed the offences.

        3.    Each State Party shall ensure, in particular, that legal entities liable in accordance with
        paragraph 1 above are subject to effective, proportionate and dissuasive criminal, civil or
        administrative sanctions. Such sanctions may include monetary sanctions.


        Article 6



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               Each State Party shall adopt such measures as may be necessary, including, where
        appropriate, domestic legislation, to ensure that criminal acts within the scope of this
        Convention are under no circumstances justifiable by considerations of a political,
        philosophical, ideological, racial, ethnic, religious or other similar nature.


        Article 7

        1.     Each State Party shall take such measures as may be necessary to establish its
        jurisdiction over the offences set forth in article 2 when:

               (a) The offence is committed in the territory of that State;

               (b) The offence is committed on board a vessel flying the flag of that State or an
        aircraft registered under the laws of that State at the time the offence is committed;

               (c) The offence is committed by a national of that State.

        2.     A State Party may also establish its jurisdiction over any such offence when:

               (a) The offence was directed towards or resulted in the carrying out of an offence
        referred to in article 2, paragraph 1, subparagraph (a) or (b), in the territory of or against a
        national of that State;

                (b) The offence was directed towards or resulted in the carrying out of an offence
        referred to in article 2, paragraph 1, subparagraph (a) or (b), against a State or government
        facility of that State abroad, including diplomatic or consular premises of that State;

               (c) The offence was directed towards or resulted in an offence referred to in article 2,
        paragraph 1, subparagraph (a) or (b), committed in an attempt to compel that State to do or
        abstain from doing any act;

               (d) The offence is committed by a stateless person who has his or her habitual
        residence in the territory of that State;

             (e) The offence is committed on board an aircraft which is operated by the
        Government of that State.

        3.     Upon ratifying, accepting, approving or acceding to this Convention, each State Party
        shall notify the Secretary-General of the United Nations of the jurisdiction it has established in
        accordance with paragraph 2. Should any change take place, the State Party concerned shall
        immediately notify the Secretary-General.

        4.     Each State Party shall likewise take such measures as may be necessary to establish its
        jurisdiction over the offences set forth in article 2 in cases where the alleged offender is



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        present in its territory and it does not extradite that person to any of the States Parties that
        have established their jurisdiction in accordance with paragraphs 1 or 2.

        5.      When more than one State Party claims jurisdiction over the offences set forth in article
        2, the relevant States Parties shall strive to coordinate their actions appropriately, in particular
        concerning the conditions for prosecution and the modalities for mutual legal assistance.

        6.     Without prejudice to the norms of general international law, this Convention does not
        exclude the exercise of any criminal jurisdiction established by a State Party in accordance
        with its domestic law.


        Article 8

        1.     Each State Party shall take appropriate measures, in accordance with its domestic legal
        principles, for the identification, detection and freezing or seizure of any funds used or
        allocated for the purpose of committing the offences set forth in article 2 as well as the
        proceeds derived from such offences, for purposes of possible forfeiture.

        2.     Each State Party shall take appropriate measures, in accordance with its domestic legal
        principles, for the forfeiture of funds used or allocated for the purpose of committing the
        offences set forth in article 2 and the proceeds derived from such offences.

        3.    Each State Party concerned may give consideration to concluding agreements on the
        sharing with other States Parties, on a regular or case-by-case basis, of the funds derived
        from the forfeitures referred to in this article.

        4.     Each State Party shall consider establishing mechanisms whereby the funds derived
        from the forfeitures referred to in this article are utilized to compensate the victims of offences
        referred to in article 2, paragraph 1, subparagraph (a) or (b), or their families.

        5.     The provisions of this article shall be implemented without prejudice to the rights of
        third parties acting in good faith.


        Article 9

        1.     Upon receiving information that a person who has committed or who is alleged to have
        committed an offence set forth in article 2 may be present in its territory, the State Party
        concerned shall take such measures as may be necessary under its domestic law to investigate
        the facts contained in the information.

        2.      Upon being satisfied that the circumstances so warrant, the State Party in whose
        territory the offender or alleged offender is present shall take the appropriate measures under
        its domestic law so as to ensure that person=s presence for the purpose of prosecution or
        extradition.

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         3.     Any person regarding whom the measures referred to in paragraph 2 are being taken
         shall be entitled to:

                (a) Communicate without delay with the nearest appropriate representative of the
         State of which that person is a national or which is otherwise entitled to protect that person=s
         rights or, if that person is a stateless person, the State in the territory of which that person
         habitually resides;
                (b) Be visited by a representative of that State;

                (c) Be informed of that person=s rights under subparagraphs (a) and (b).

         4.     The rights referred to in paragraph 3 shall be exercised in conformity with the laws and
         regulations of the State in the territory of which the offender or alleged offender is present,
         subject to the provision that the said laws and regulations must enable full effect to be given to
         the purposes for which the rights accorded under paragraph 3 are intended.

         5.    The provisions of paragraphs 3 and 4 shall be without prejudice to the right of any
         State Party having a claim to jurisdiction in accordance with article 7, paragraph 1,
         subparagraph (b), or paragraph 2, subparagraph (b), to invite the International Committee of
         the Red Cross to communicate with and visit the alleged offender.

         6.     When a State Party, pursuant to the present article, has taken a person into custody, it
         shall immediately notify, directly or through the Secretary-General of the United Nations, the
         States Parties which have established jurisdiction in accordance with article 7, paragraph 1 or
         2, and, if it considers it advisable, any other interested States Parties, of the fact that such
         person is in custody and of the circumstances which warrant that person=s detention. The
         State which makes the investigation contemplated in paragraph 1 shall promptly inform the
         said States Parties of its findings and shall indicate whether it intends to exercise jurisdiction.


         Article 10

         1.     The State Party in the territory of which the alleged offender is present shall, in cases to
         which article 7 applies, if it does not extradite that person, be obliged, without exception
         whatsoever and whether or not the offence was committed in its territory, to submit the case
         without undue delay to its competent authorities for the purpose of prosecution, through
         proceedings in accordance with the laws of that State. Those authorities shall take their
         decision in the same manner as in the case of any other offence of a grave nature under the
         law of that State.

         2.     Whenever a State Party is permitted under its domestic law to extradite or otherwise
         surrender one of its nationals only upon the condition that the person will be returned to that
         State to serve the sentence imposed as a result of the trial or proceeding for which the
         extradition or surrender of the person was sought, and this State and the State seeking the
         extradition of the person agree with this option and other terms they may deem appropriate,

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         such a conditional extradition or surrender shall be sufficient to discharge the obligation set
         forth in paragraph 1.


         Article 11

         1.     The offences set forth in article 2 shall be deemed to be included as extraditable
         offences in any extradition treaty existing between any of the States Parties before the entry
         into force of this Convention. States Parties undertake to include such offences as extraditable
         offences in every extradition treaty to be subsequently concluded between them.

         2.      When a State Party which makes extradition conditional on the existence of a treaty
         receives a request for extradition from another State Party with which it has no extradition
         treaty, the requested State Party may, at its option, consider this Convention as a legal basis
         for extradition in respect of the offences set forth in article 2. Extradition shall be subject to the
         other conditions provided by the law of the requested State.

         3.      States Parties which do not make extradition conditional on the existence of a treaty
         shall recognize the offences set forth in article 2 as extraditable offences between themselves,
         subject to the conditions provided by the law of the requested State.

         4.     If necessary, the offences set forth in article 2 shall be treated, for the purposes of
         extradition between States Parties, as if they had been committed not only in the place in
         which they occurred but also in the territory of the States that have established jurisdiction in
         accordance with article 7, paragraphs 1 and 2.

         5.     The provisions of all extradition treaties and arrangements between States Parties with
         regard to offences set forth in article 2 shall be deemed to be modified as between States
         Parties to the extent that they are incompatible with this Convention.


         Article 12

         1.     States Parties shall afford one another the greatest measure of assistance in connection
         with criminal investigations or criminal or extradition proceedings in respect of the offences set
         forth in article 2, including assistance in obtaining evidence in their possession necessary for
         the proceedings.

         2.    States Parties may not refuse a request for mutual legal assistance on the ground of
         bank secrecy.

         3.    The requesting Party shall not transmit nor use information or evidence furnished by the
         requested Party for investigations, prosecutions or proceedings other than those stated in the
         request without the prior consent of the requested Party.




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         4.      Each State Party may give consideration to establishing mechanisms to share with other
         States Parties information or evidence needed to establish criminal, civil or administrative
         liability pursuant to article 5.

         5.     States Parties shall carry out their obligations under paragraphs 1 and 2 in conformity
         with any treaties or other arrangements on mutual legal assistance or information exchange that
         may exist between them. In the absence of such treaties or arrangements, States Parties shall
         afford one another assistance in accordance with their domestic law.


         Article 13

                None of the offences set forth in article 2 shall be regarded, for the purposes of
         extradition or mutual legal assistance, as a fiscal offence. Accordingly, States Parties may not
         refuse a request for extradition or for mutual legal assistance on the sole ground that it
         concerns a fiscal offence.


         Article 14

                None of the offences set forth in article 2 shall be regarded for the purposes of
         extradition or mutual legal assistance as a political offence or as an offence connected with a
         political offence or as an offence inspired by political motives. Accordingly, a request for
         extradition or for mutual legal assistance based on such an offence may not be refused on the
         sole ground that it concerns a political offence or an offence connected with a political offence
         or an offence inspired by political motives.


         Article 15

                Nothing in this Convention shall be interpreted as imposing an obligation to extradite or
         to afford mutual legal assistance, if the requested State Party has substantial grounds for
         believing that the request for extradition for offences set forth in article 2 or for mutual legal
         assistance with respect to such offences has been made for the purpose of prosecuting or
         punishing a person on account of that person=s race, religion, nationality, ethnic origin or
         political opinion or that compliance with the request would cause prejudice to that person=s
         position for any of these reasons.


         Article 16

         1.     A person who is being detained or is serving a sentence in the territory of one State
         Party whose presence in another State Party is requested for purposes of identification,
         testimony or otherwise providing assistance in obtaining evidence for the investigation or
         prosecution of offences set forth in article 2 may be transferred if the following conditions are
         met:

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                (a) The person freely gives his or her informed consent;

                (b) The competent authorities of both States agree, subject to such conditions as those
         States may deem appropriate.

         2.     For the purposes of the present article:

                (a) The State to which the person is transferred shall have the authority and obligation
         to keep the person transferred in custody, unless otherwise requested or authorized by the
         State from which the person was transferred;

                (b) The State to which the person is transferred shall without delay implement its
         obligation to return the person to the custody of the State from which the person was
         transferred as agreed beforehand, or as otherwise agreed, by the competent authorities of
         both States;

                (c) The State to which the person is transferred shall not require the State from which
         the person was transferred to initiate extradition proceedings for the return of the person;

                (d) The person transferred shall receive credit for service of the sentence being served
         in the State from which he or she was transferred for time spent in the custody of the State to
         which he or she was transferred.

         3.     Unless the State Party from which a person is to be transferred in accordance with the
         present article so agrees, that person, whatever his or her nationality, shall not be prosecuted
         or detained or subjected to any other restriction of his or her personal liberty in the territory of
         the State to which that person is transferred in respect of acts or convictions anterior to his or
         her departure from the territory of the State from which such person was transferred.


         Article 17

                 Any person who is taken into custody or regarding whom any other measures are taken
         or proceedings are carried out pursuant to this Convention shall be guaranteed fair treatment,
         including enjoyment of all rights and guarantees in conformity with the law of the State in the
         territory of which that person is present and applicable provisions of international law,
         including international human rights law.


         Article 18

         1.     States Parties shall cooperate in the prevention of the offences set forth in article 2 by
         taking all practicable measures, inter alia, by adapting their domestic legislation, if necessary,
         to prevent and counter preparations in their respective territories for the commission of those
         offences within or outside their territories, including:

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               (a) Measures to prohibit in their territories illegal activities of persons and
         organizations that knowingly encourage, instigate, organize or engage in the commission of
         offences set forth in article 2;

                (b) Measures requiring financial institutions and other professions involved in financial
         transactions to utilize the most efficient measures available for the identification of their usual or
         occasional customers, as well as customers in whose interest accounts are opened, and to pay
         special attention to unusual or suspicious transactions and report transactions suspected of
         stemming from a criminal activity. For this purpose, States Parties shall consider:

                (i) Adopting regulations prohibiting the opening of accounts the holders or
                beneficiaries of which are unidentified or unidentifiable, and measures to ensure that
                such institutions verify the identity of the real owners of such transactions;

                (ii) With respect to the identification of legal entities, requiring financial institutions,
                when necessary, to take measures to verify the legal existence and the structure of the
                customer by obtaining, either from a public register or from the customer or both, proof
                of incorporation, including information concerning the customer=s name, legal form,
                address, directors and provisions regulating the power to bind the entity;

                (iii) Adopting regulations imposing on financial institutions the obligation to report
                promptly to the competent authorities all complex, unusual large transactions and
                unusual patterns of transactions, which have no apparent economic or obviously lawful
                purpose, without fear of assuming criminal or civil liability for breach of any restriction
                on disclosure of information if they report their suspicions in good faith;

               (iv) Requiring financial institutions to maintain, for at least five years, all necessary
               records on transactions, both domestic or international.

         2. States Parties shall further cooperate in the prevention of offences set forth in article 2
         by considering:

              (a) Measures for the supervision, including, for example, the licensing, of all money-
         transmission agencies;

              (b) Feasible measures to detect or monitor the physical cross-border transportation of
         cash and bearer negotiable instruments, subject to strict safeguards to ensure proper use of
         information and without impeding in any way the freedom of capital movements.

         3. States Parties shall further cooperate in the prevention of the offences set forth in article
         2 by exchanging accurate and verified information in accordance with their domestic law and
         coordinating administrative and other measures taken, as appropriate, to prevent the
         commission of offences set forth in article 2, in particular by:




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              (a) Establishing and maintaining channels of communication between their competent
         agencies and services to facilitate the secure and rapid exchange of information concerning all
         aspects of offences set forth in article 2;

               (b) Cooperating with one another in conducting inquiries, with respect to the offences
         set forth in article 2, concerning:

              (i) The identity, whereabouts and activities of persons in respect of whom reasonable
              suspicion exists that they are involved in such offences;

             (ii) The movement of funds relating to the commission of such offences.
         4. States Parties may exchange information through the International Criminal Police
         Organization (Interpol).


         Article 19

              The State Party where the alleged offender is prosecuted shall, in accordance with its
         domestic law or applicable procedures, communicate the final outcome of the proceedings to
         the Secretary-General of the United Nations, who shall transmit the information to the other
         States Parties.


         Article 20

              The States Parties shall carry out their obligations under this Convention in a manner
         consistent with the principles of sovereign equality and territorial integrity of States and that of
         non-intervention in the domestic affairs of other States.


         Article 21

              Nothing in this Convention shall affect other rights, obligations and responsibilities of
         States and individuals under international law, in particular the purposes of the Charter of the
         United Nations, international humanitarian law and other relevant conventions.


         Article 22

              Nothing in this Convention entitles a State Party to undertake in the territory of another
         State Party the exercise of jurisdiction or performance of functions which are exclusively
         reserved for the authorities of that other State Party by its domestic law.




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         Article 23

         1.   The annex may be amended by the addition of relevant treaties that:

              (a) Are open to the participation of all States;

              (b) Have entered into force;

              (c) Have been ratified, accepted, approved or acceded to by at least twenty-two
         States Parties to the present Convention.

         2. After the entry into force of this Convention, any State Party may propose such an
         amendment. Any proposal for an amendment shall be communicated to the depositary in
         written form. The depositary shall notify proposals that meet the requirements of paragraph 1
         to all States Parties and seek their views on whether the proposed amendment should be
         adopted.

         3. The proposed amendment shall be deemed adopted unless one third of the States
         Parties object to it by a written notification not later than 180 days after its circulation.

         4. The adopted amendment to the annex shall enter into force 30 days after the deposit of
         the twenty-second instrument of ratification, acceptance or approval of such amendment for
         all those States Parties having deposited such an instrument. For each State Party ratifying,
         accepting or approving the amendment after the deposit of the twenty-second instrument, the
         amendment shall enter into force on the thirtieth day after deposit by such State Party of its
         instrument of ratification, acceptance or approval.


         Article 24

         1. Any dispute between two or more States Parties concerning the interpretation or
         application of this Convention which cannot be settled through negotiation within a reasonable
         time shall, at the request of one of them, be submitted to arbitration. If, within six months from
         the date of the request for arbitration, the parties are unable to agree on the organization of
         the arbitration, any one of those parties may refer the dispute to the International Court of
         Justice, by application, in conformity with the Statute of the Court.

         2. Each State may at the time of signature, ratification, acceptance or approval of this
         Convention or accession thereto declare that it does not consider itself bound by
         paragraph 1. The other States Parties shall not be bound by paragraph 1 with respect to any
         State Party which has made such a reservation.

         3. Any State which has made a reservation in accordance with paragraph 2 may at any
         time withdraw that reservation by notification to the Secretary-General of the United Nations.




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         Article 25

         1. This Convention shall be open for signature by all States from 10 January 2000 to 31
         December 2001 at United Nations Headquarters in New York.

         2. This Convention is subject to ratification, acceptance or approval. The instruments of
         ratification, acceptance or approval shall be deposited with the Secretary-General of the
         United Nations.

         3. This Convention shall be open to accession by any State. The instruments of accession
         shall be deposited with the Secretary-General of the United Nations.


         Article 26

         1. This Convention shall enter into force on the thirtieth day following the date of the
         deposit of the twenty-second instrument of ratification, acceptance, approval or accession
         with the Secretary-General of the United Nations.

         2. For each State ratifying, accepting, approving or acceding to the Convention after the
         deposit of the twenty-second instrument of ratification, acceptance, approval or accession,
         the Convention shall enter into force on the thirtieth day after deposit by such State of its
         instrument of ratification, acceptance, approval or accession.


         Article 27

         1. Any State Party may denounce this Convention by written notification to the Secretary-
         General of the United Nations.

         2. Denunciation shall take effect one year following the date on which notification is
         received by the Secretary-General of the United Nations.


         Article 28

              The original of this Convention, of which the Arabic, Chinese, English, French, Russian
         and Spanish texts are equally authentic, shall be deposited with the Secretary-General of the
         United Nations who shall send certified copies thereof to all States.

              IN WITNESS WHEREOF, the undersigned, being duly authorized thereto by their
         respective Governments, have signed this Convention, opened for signature at United Nations
         Headquarters in New York on 10 January 2000.




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         Annex

         1. Convention for the Suppression of Unlawful Seizure of Aircraft, done at The Hague on
         16 December 1970.

         2. Convention for the Suppression of Unlawful Acts against the Safety of Civil Aviation,
         done at Montreal on 23 September 1971.

         3. Convention on the Prevention and Punishment of Crimes against Internationally
         Protected Persons, including Diplomatic Agents, adopted by the General Assembly of the
         United Nations on 14 December 1973.

         4. International Convention against the Taking of Hostages, adopted by the General
         Assembly of the United Nations on 17 December 1979.

         5. Convention on the Physical Protection of Nuclear Material, adopted at Vienna on
         3 March 1980.

         6. Protocol for the Suppression of Unlawful Acts of Violence at Airports Serving
         International Civil Aviation, supplementary to the Convention for the Suppression of Unlawful
         Acts against the Safety of Civil Aviation, done at Montreal on 24 February 1988.

         7. Convention for the Suppression of Unlawful Acts against the Safety of Maritime
         Navigation, done at Rome on 10 March 1988.

         8. Protocol for the Suppression of Unlawful Acts against the Safety of Fixed Platforms
         located on the Continental Shelf, done at Rome on 10 March 1988.

         9. International Convention for the Suppression of Terrorist Bombings, adopted by the
         General Assembly of the United Nations on 15 December 1997.




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